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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:14−cr−00287
                                                       Honorable Charles R. Norgle Sr.
James J Carroll, et al.
                                        Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 23, 2020:


       MINUTE entry before the Honorable Charles R. Norgle as to James J Carroll: The
October 6, 2020 sentencing hearing is stricken. Sentencing is reset for 10/7/2020 at 11:30
a.m. Counsel are required to notify the courtroom deputy on or before 9/29/2020 if the
sentencing will be an in person or video hearing. Mailed notice (ewf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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